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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

JUSTIN RICHE                                                                           PLAINTIFF

VERSUS                                         CIVIL ACTION NO. 2:23-cv-00057-TBM-RPM

FORREST COUNTY JAIL, et al.                                                        DEFENDANTS

                                ORDER AMENDING DOCKET

       BEFORE THE COURT are pro se Plaintiff Justin Riche’s Responses [23] [24] [25] to the

Court’s Order [21]. Plaintiff originally named six Defendants: (1) Forrest County Jail; (2)

Unknown Lewis; (3) Major Unknown Carson; (4) Sheriff Charlie Sims; (5) Blaine Stensell; and

(6) Captain Unknown Henderson. [1] at 1; [4] at 1-3. Plaintiff now advises the Court that he wants

to add Forrest County, Mississippi, as Defendant herein. [23] at 1; [25] at 1. He also clarified that

Unknown Lewis’s name is “Kelby Lewis,” that Major Unknown Carson’s name is “Terrell

Carson,” and that Captain Unknown Henderson’s name is “Evan Henderson.” [23] at 1-2; [24] at

1; [25] at 2. The Clerk of Court shall amend the docket accordingly.

       IT IS, THEREFORE, ORDERED that the Clerk of Court shall add Forrest County,

Mississippi, as Defendant herein.

       IT IS, FURTHER, ORDERED that the Clerk of Court shall replace Unknown Lewis with

“Kelby Lewis,” Major Unknown Carson with “Major Terrell Carson,” and Captain Unknown

Henderson with “Captain Evan Henderson” as Defendants herein.

       SO ORDERED, this 2nd day of April, 2024.


                                      /s/   Robert P. Myers, Jr.
                                      ROBERT P. MYERS, JR.
                                      UNITED STATES MAGISTRATE JUDGE
